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IH-32                                                                                        Rev: 2014-1



                                United States District Court
                                            for the
                               Southern District of New York
                                           Related Case Statement
                                           Full Caption of Later Filed Case:
TOUCHSTONE STRATEGIC TRUST, TOUCHSTONE
VARIABLE SERIES TRUST, THE WESTERN AND
SOUTHERN LIFE INSURANCE COMPANY,
WESTERN-SOUTHERN LIFE ASSURANCE COMPANY,
WESTERN & SOUTHERN FINANCIAL GROUP, INC., and
INTEGRITYLIFE INSURANCE COMPANY

                            Plaintiff                                          Case Number


                               vs.

GENERAL ELECTRIC COMPANY, JEFFREY R. IMMELT,
JEFFREYS. BORNSTEIN, JAMIE S. MILLER, and KEITH S.
SHERIN




                          Defendant

                                           Full Caption of Earlier Filed Case:
                       (including in bankruptcy appeals the relevant adversary proceeding)

SJUNDE AP-FON DEN and THE CLEVELAND BAKERS
AN[l TEAMSTERS PENSION FUND , Individually and on
behalf of all others similarly situated,




                            Plaintiff                                          Case Number

                                                             1 :17-CV-8457-JMF
                               vs.

GENERAL ELECTRIC COMPANY, JEFFREY R. IMMELT,
JEFFREYS. BORNSTEIN, JAMIE MILLER, KEITH S.
SH ERIN, JAN R. HAUSER, and RICHARD A. LAXER




                          Defendant




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IH-32                                                                                              Rev: 2014· l




    □
Status of Earlier Filed Case:
                           (If so, set forth the procedure which resulted in closure, e.g., voluntary
             Closed        dismissal, settlement, court decision. Also, state whether there is an appeal
                           pending.)

             Open          (If so, set forth procedural status and summarize any court rulings.)



The initial complaint in Civil Action No. 17-CV-8457 was filed on November 1, 2017 and the case was assigned
to The Honorable Jesse M. Furman. After a lead plaintiff was appointed, lead plaintiff filed a third amended
complaint on July 25, 2018. Defendants filed a motion to dismiss on September 12, 2018 and that motion is
fully briefed. Plaintiffs subsequently filed a fourth amended complaint on October 17, 2018, and according to a
Joint Stipulation and Order, Defendants motion to dismiss will apply to the fourth amended complaint.


Explain in detail the reasons for your position that the newly filed case is related to the
earlier filed case.


The plaintiffs in Civil Action No. 17-cv-8457 purport to bring claims on behalf of a class that includes the
Plaintiffs here. Plaintiffs here assert only their individual claims and are not seeking to represent a class.

This action, like Civil Action No. 17-cv-8457, asserts claims under the Securities and Exchange Act of 1934
and involves alleged misrepresentations and omissions concerning General Electric Company's ("GE")
disclosure of long-term care insurance liabilities and certain "Contract Assets" associated with its power
segment. All of the defendants named in this action are also named as defendants in Civil Action No.
17-cv-8457.

In the interest of full disclosure, the present case asserts state law claims and claims based on
misrepresentations and omissions relating to GE's acquisition of Alstom SA, and its accounting for the
transaction, which are not at issue in Civil Action No. 17-cv-8457. However, similar misrepresentations and
omissions are at issue in two class actions filed against GE and others that are currently pending before
The Honorable Denise L. Cote (Civil Action Nos. 19-cv-01244-DLC and 19-cv-01013-DLC). Because of this
overlap, the present case is also related to the cases before Judge Cote.




Signature:                                                                 Date:   2/27/2019
              Wollmuth Maher & Deutsch LLP
Fi rm:


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